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ORIGINAL
                                                                           FILED IN OPEN COURT
                                                                              U.S.D.C. -Atlanta
                                                                             FEB - 7 2023
                                                                         KEVININIER,     Clerk
                  IN THE UNITED STATES DISTRICT COURT                     By.
                                                                                  Deriitv Clerk
                 FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION


   UNITED STATES OF AMERICA
          V.                                   Criminal Indictment

   KRISTOPHER KNEUBUHLER                       No. 1323CR0047


THE GRAND JURY CHARGES THAT:

                                     Count One
   Beginning on a date unknown to the Grand Jury, but occurring by at least on
or about January 3, 2023, in the Northern District of Georgia, the defendant,
KRISTOPHER KNEUBUHLER, did knowingly receive at least one visual depiction of a
minor engaging in sexually explicit conduct, as defined in Title 18, United States
Code, Section 2256(2), said depiction having been (a) produced using a minor
engaging in sexually explicit conduct, and (b) shipped and transported in and
affecting interstate and foreign commerce, by any means, including by computer,
all in violation of Title 18, United States Code, Section 2252(a)(2).

                                     Count Two
   On or about January 5, 2023, in the Northern District of Georgia, the defendant,
KRISTOPHER KNEUBUHLER, did knowingly possess at least one computer and
computer storage device, specifically, a hard drive, a thumb drive, and a laptop,
which contained at least one visual depiction of a minor engaged in sexually
explicit conduct, as defined in Title 18, United States Code, Section 2256(2), said
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depiction (a) having been produced using a minor engaging in sexually explicit
conduct, (b) involving at least one prepubescent minor and at least one minor who
had not attained 12 years of age, and (c) having been shipped and transported in
and affecting interstate and foreign commerce, by any means including by
computer, in violation of Title 18, United States Code, Section 2252(a)(4)(B).

                               Forfeiture Provision
   Upon conviction of one or more of the offenses in Counts One and Two of this
Indictment, the defendant, KRISTOPHER KNEUBUHLER, shall forfeit to the United
States of America, pursuant to Title 18, United States Code, Section 2253:
      (a)Any visual depiction described in Title 18, United States Code, sections
         2251, 2251A, or 2252, or any book, magazine, periodical, film, videotape,
         or other matter which contains any such visual depiction, which was
         produced, transported, mailed, shipped or received in violation of Title
         18, United States Code, Chapter 110;
      (b)Any property, real or personal, constituting or traceable to gross profits
         or other proceeds obtained from the offenses; and
      (c)Any property, real or personal, used or intended to be used to commit or
         to promote the commission of the offenses.
   The property to be forfeited includes, but is not limited to, the following:
      MONEY JUDGMENT: A sum of money in United States currency,
      representing the amount of proceeds obtained as a result of the offenses
      alleged in Counts One and Two of this Indictment.



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   If any of the property described above, as a result of any act or omission of the
defendant:
              a.    cannot be located upon the exercise of due diligence;
              b.    has been transferred or sold to, or deposited with, a third party;
              c.    has been placed beyond the jurisdiction of the court;
              d.    has been substantially diminished in value; or
              e.    has been commingled with other property which carmot be
                    divided without difficulty,
the United States of America intends to seek forfeiture of any other property of
said defendant up to the value of the forfeitable property, pursuant to Title 21,
United States Code, Section 853(p), as incorporated by Title 18, United States Code,
Section 2253(b) and by Title 28, United States Code, Section 2461(c).


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                                                     FOREPER
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